     Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 1 of 21




 1   BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
     Lesley Weaver (Cal. Bar No.191305)                David A. Straite (admitted pro hac vice)
 2   Angelica M. Ornelas (Cal. Bar No. 285929)         Corban Rhodes (admitted pro hac vice)
     Joshua D. Samra (Cal. Bar No. 313050)             One Grand Central Place
 3   555 12th Street, Suite 1600                       60 East 42nd Street, Suite 2400
     Oakland, CA 94607
 4   Tel.: (415) 445-4003                              New York, NY 10165
     Fax: (415) 445-4020                               Tel.: (646) 933-1000
 5   lweaver@bfalaw.com                                dstraite@dicellolevitt.com
     aornelas@bfalaw.com                               crhodes@dicellolevitt.com
 6   jsamra@bfalaw.com
                                                       Amy Keller (admitted pro hac vice)
 7   SIMMONS HANLY CONROY LLC                          Adam Prom (admitted pro hac vice)
     Jason ‘Jay’ Barnes (admitted pro hac vice)        Sharon Cruz (admitted pro hac vice)
 8   An Truong (admitted pro hac vice)                 Ten North Dearborn St., 6th Floor
     Eric Johnson (admitted pro hac vice)              Chicago, IL 60602
 9   112 Madison Avenue, 7th Floor
     New York, NY 10016                                Tel.: (312) 214-7900
10   Tel.: (212) 784-6400                              akeller@dicellolevitt.com
     Fax: (212) 213-5949                               aprom@dicellolevitt.com
11   jaybarnes@simmonsfirm.com                         scruz@dicellolevitt.com
     atruong@simmonsfirm.com
12   ejohnson@simmonsfirm.com

13   Counsel for Plaintiffs

14                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                     OAKLAND DIVISION
16   PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-05146-YGR-SVK
17   themselves and all others similarly situated,
                                                      PLAINTIFFS’ REPLY IN FURTHER
18                Plaintiffs,                         SUPPPORT OF MOTION FOR AN ORDER
                                                      OF SANCTIONS FOR GOOGLE’S
19         v.                                         DISCOVERY MISCONDUCT

20   GOOGLE LLC,                                      Hr’g Date: August 11, 2022
                                                      Time:      9:30AM PT
21                Defendant.
                                                      Courtroom: 6, 4th Floor
22
                                                      Referral:    Honorable Susan van Keulen
23

24

25

26              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

27

28

                                                                          Case No. 4:20-cv-05146-YGR-SVK
                                         PLS’ REPLY ISO OF MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
          Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 2 of 21




 1                                                          TABLE OF CONTENTS

 2

 3
     TABLE OF AUTHORITIES ............................................................................................................ ii
 4
     I.         INTRODUCTION ..................................................................................................................... 1
 5
     II.        ARGUMENT ............................................................................................................................ 1
 6
           A.      Google Engaged in Sanctionable Discovery Misconduct ..................................................... 1
 7
                   1.      Google Made False Representations About Not Synced Signals and Withheld
 8                         Relevant Information.................................................................................................... 1

 9                 2.      Google Failed to Produce Named Plaintiff Data .......................................................... 5

10                         a.      Google Failed to Timely Disclose and Produce Already Searched, Segregated
                                   and Preserved Named Plaintiff Data ................................................................... 5
11
                           b.      Google Failed to Preserve Biscotti-Keyed Information ...................................... 7
12
                           c.      Google Failed to Preserve Zwieback-Keyed Information................................... 7
13
                           d.      The Special Master Process Should Not Have Been Necessary ......................... 9
14
                   3. Google Withheld Privacy Native Documents ............................................................... 10
15
           B.      Evidentiary and Monetary Sanctions Are Appropriate ....................................................... 12
16
                   1.      Proposed Sanction for Discovery Misconduct Related to Not Synced Signals is
17                         Appropriate................................................................................................................. 13

18                 2.      Proposed Sanctions for Failure to Preserve and Produce Named Plaintiff Information
                           are Appropriate ........................................................................................................... 13
19
                   3.      Proposed Sanction for Privacy Native Misconduct is Appropriate............................ 14
20
                   4.      Plaintiffs’ Other Requested Relief Is Appropriate ..................................................... 15
21
                   5.      Google’s Opposition Concedes Additional Misconduct on Zwieback ...................... 15
22
     III.          CONCLUSION ................................................................................................................... 15
23

24

25

26

27

28

                                                                            -i-                Case No. 4:20-cv-05146-YGR-SVK
                                                               PLS’ REPLY ISO OF MOTON FOR SANCTIONS FOR DISCOVERY MISCONDUCT
         Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 3 of 21




 1                                                   TABLE OF AUTHORITIES

 2 Cases

 3
   Apple Inc. v. Samsung Elecs. Co., Ltd.,
 4      888 F. Supp. 2d 976 (N.D. Cal. 2012) ............................................................................... 7, 13

 5 Brown v. Google, LLC,
       Case No. 4:20-cv-03664-YGR-SVK, Dkt. 593-3,
 6     Order on Sanctions (N.D. Cal. Feb. 26, 2022)....................................................................... 12
 7 First Fin. Sec., Inc. v. Freedom Equity Grp. LLC,
         2016 WL 5870219 (N.D. Cal. Oct. 7, 2016) .......................................................................... 13
 8
   In re Facebook Internet Tracking,
 9       956 F.3d 589 (9th Cir. 2020) .................................................................................................. 14
10 In re Google RTB Consumer Privacy Litig.,

11       2022 WL 2165489 (N.D. Cal. Jun. 13, 2022) ........................................................................ 14

12 In re Lavender,
         180 F.3d 1114 (9th Cir. 1991) .................................................................................................. 4
13
   Kennedy v. Allied Mut. Ins. Co.,
14       952 F.2d 262 (9th Cir. 1991) .................................................................................................... 2
15 Lanier v. San Joaquin Valley Offs. Ass’n,

16      2016 WL 4764669 (E.D. Cal. Sept. 12, 2016) ....................................................................... 15

17 North American Watch Corp. v. Princess Ermine Jewels,
        786 F.2d 1447 (9th Cir. 1986) .................................................................................................. 4
18
   See Synapsis, LLC v. Evergreen Data Sys., Inc.,
19      2006 WL 2884413 (N.D. Cal. Oct. 10, 2006) ........................................................................ 11
20 Shanghai Weiyi Int’l Trade Co. v. Focus 2000 Corp.,
        2017 WL 2840279 (S.D.N.Y. Jun. 27, 2017) ....................................................................... 12
21

22 Shillitani v. U.S.,
          384 U.S. 364 (1966) .............................................................................................................. 15
23
   U.S. v. Sumitomo,
24        617 F.2d 1365 (9th Cir. 1980) ................................................................................................. 12
25 Rules

26 Fed. R. Civ. P. 37(b)(2)(C).............................................................................................................. 13

27

28

                                                                      -ii-                 Case No. 4:20-cv-05146-YGR-SVK
                                                             PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
        Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 4 of 21




 1 I.       INTRODUCTION

 2          The evidence shows that Google: (1) falsely told the Court that there was no such thing as

 3 Not Synced signals; (2) failed to produce Named Plaintiff data as ordered by the Court on numerous

 4 occasions, leading to serious abuses of the Special Master process; (3) failed to search for and

 5 preserve Biscotti-keyed and Zwieback-keyed Plaintiff data until most of it had already been deleted;

 6 and (4) concealed key evidence relating to its false defense of consent and asking the Court to find

 7 consent as a matter of law when it knew the opposite to be true. Google’s opposition concedes that

 8 the underlying facts are not in dispute. Google should be sanctioned for this misconduct.

 9 II.      ARGUMENT

10          A.      GOOGLE ENGAGED IN SANCTIONABLE DISCOVERY MISCONDUCT
11                  1.      Google Made False Representations About Not Synced Signals and
                            Withheld Relevant Information
12
            Google does not dispute that it made false statements to the Court and to Plaintiffs regarding
13
     the Not Synced signals. Instead, Google asks the Court to be excused for three reasons: (1) Google’s
14
     misrepresentations to the Court could be viewed as somewhat accurate in “context”; (2) that no
15
     prejudice exists because Plaintiffs eventually learned of the existence of Not Synced Signals through
16
     their own investigation; and (3) that its misconduct is shielded from censure under the Court’s April
17
     30, 2021 Protective Order. As set forth below, each argument should be rejected.
18
            Google argues that “context is critical” for the misrepresentations made about Not Synced
19
     signals. Opp. at 1. But Google’s supposed “context” is illogical and not supported by the record. The
20
     March 5, 2021 hearing focused on whether relevant data, including Not Synced signals, existed in
21
     logs maintained by Google, including Sync Traffic Logs. Google made material misrepresentations
22
     to the Court in this hearing. Specifically, Google falsely stated:
23
            (1) Sync Traffic Logs do not contain any relevant information, see Dkt. 120 at 4 (falsely
24          representing that sync traffic logs show “traffic only for users that have sync enabled”); Mar.
            5, 2021 Hr’g Tr. 21:9-11 (“So sync traffic logs, your honor, … are not relevant here”);
25          (2) Not Synced Signals did not exist, see, e.g. Joint Decl. Ex. 3 at 5 (Google’s correspondence
            asserting “                                                                     ”); see also Joint
26          Decl. ¶¶ 7-17; and
27          (3) the number of not synced users “is not a figure that’s readily available to Google;” Mar.
            5, 2021 Hr’g Tr. 23:14-23.
28
            Only through Plaintiffs’ investigation and hard-fought discovery efforts have Plaintiffs
                                                    -1-                Case No. 4:20-cv-05146-YGR-SVK
                                            PLS’ REPLY ISO OF MOTON FOR SANCTIONS FOR DISCOVERY MISCONDUCT
         Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 5 of 21




 1 learned that these statements are undeniably false. There are, in fact, multiple Not Synced signals,

 2 and sync traffic logs do contain data for users who have not enabled sync. Specifically, sync traffic

 3 logs contain records of when Not Synced Chrome users sign-in to a Google account (               continue

 4 using Chrome while Not Synced (              and pause or turn off Sync (                       See Joint

 5 Decl. ¶¶ 28-39. While Google now defends its misconduct by arguing that “the difficulty of

 6 identifying a portion of class members only confirms that Google cannot identify all Chrome users

 7 browsing without syncing,” Opp. at 2, Google’s own declarant, Tim Schumann, testified to the

 8 opposite: compiling a list of not synced users via the butter signal would “               ” and involve

 9                                   ” related to the “                                       ]” Joint Decl.

10 ¶ 30 (quoting Joint Decl. Ex. 5, Schumann Dep., 94:25-97:14); Joint Rebuttal Decl. ¶ 23; Joint

11 Rebuttal Decl. Ex. 18.1 There is no “context” in which Google’s representations can be reconciled

12 with Schumann’s testimony.

13           Google also argues that Plaintiffs eventually learned of Google’s false statements, almost a
14 year ago. Opp. at 4-5. Even if true, it cannot excuse the earlier false statements, and Google’s

15 argument is belied by the record in any event. Google denied that Not Synced signals existed. See

16 Joint Decl. ¶¶ 1-20. Even if Plaintiffs started to suspect Google’s malfeasance last summer, there was

17 no way to deduce the whether, how, where, and for how long Google retained those signals. That was

18 all the subject of discovery which, due to Google’s misrepresentations and delay tactics, Plaintiffs

19 had no insight into.2 Specifically, in reply to Google’s request to put its conduct in “context”:

20              First, Google contends that it should get a pass for its false statements because Plaintiffs
                 could have discovered the truth by searching a haystack of “public documents,” Opp. at
21               4. This defense is facially absurd and, as detailed in the rebuttal declaration of Richard
22               Smith (“Smith Rebuttal”), the public documents do not actually cure Google’s

23   1
       Schumann’s declaration in support of Google’s opposition to sanctions conveniently walks back
     prior sworn testimony, though his counsel had ample opportunity to conduct re-direct. It should be
24   stricken on that basis. Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991) (“[A] party
     cannot create an issue of fact by an affidavit contradicting his prior deposition testimony”). Should
25   the Court be inclined to consider the declaration, Plaintiffs respectfully submit that Schumann should
     be available in-person for cross-examination at the in-person August 11 hearing.
26   2
       As the Court noted early on, Plaintiffs operated on an “
27                                                 [.]” Dkt. 192-1. Google consistently failed to provide
     Plaintiffs or the Court with basic information about the          or, as the Court put it, Google’s M.O.
28   was to

                                                                          ” Jun. 30, 2022 Hr’g Tr. 29:3-13.
                                                                            Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
         Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 6 of 21




 1               misrepresentations. See Joint Rebuttal Decl. Ex. 13, Smith Rebuttal, at ¶¶ 9-25.

 2              Second, Google argues that it “produced                 of documents about [Not Synced]
                 signals beginning in April 2021[.]” Opp. at 4. Even if true, such productions cannot excuse
 3               false statements to the Court the month prior, nor do they excuse Google’s Interrogatory
                 responses that continued to be false until 8 minutes before the end of fact discovery. See
 4               infra. Google did not and cannot find a single federal judge who ever excused false
                 statements to the Court and in Interrogatory responses simply because the truth was buried
 5
                 in                    of documents produced later. Google also only identifies two
 6               documents from the production that reference               and                      signals.
                 Such claimed “disclosure” cannot excuse the fact that Google continued to disavow the
 7               existence and the storage of these signals and cannot excuse the uncontroverted false
                 statements made to the Court in March and April 2021.
 8
                Third, Google falsely asserts that it “confirmed” the existence of Not Synced signals on
 9               October 12, 2021 (six months after telling the Court the opposite), in response to Request
                 for Admission Nos. 13 and 18.3 But the purported “responses” were vague (failing to
10               identify any specific Not Synced signals) and contradicted Google’s Interrogatory
11               responses, and disclosures pursuant to this Court’s November 12, 2021 sealed order; when
                 Plaintiffs sought clarity on these responses, Google refused. See Joint Rebuttal Decl. §
12               I.B.; see also Dkt. 429, Class Cert. Opp. (arguing that no signals could ever identify not
                 synced users).
13
                Fourth, Google asserts that it produced “a list of data sources containing         signals
14               on November 23, 2021.” Opp. at 4. First, even if true, this is an admission that Google
                 withheld such information until November 2021, and that its representations to the Court
15               in March 2021 – as to the non-existence of Not Synced signals and relevance (or lack
                 thereof) of sync traffic logs – were false. Second, the November 23, 2021 production
16               provided little to no transparency into the existence of Not Synced signals. Rather, the
17               limited information provided suggested that these data sources contained only information
                 of sync enabled. See Joint Rebuttal Decl. § I.C. Insofar as Google now asserts that these
18               were, in fact, sources for Not Synced signals, it is clear that Google used ambiguous and
                 misleading language to obscure that information and misdirect Plaintiffs. Google’s
19               November 23 disclosures thus support Plaintiffs’ argument, not Google’s.
20              Fifth, Google claims that it “inadvertently” left out the                         signal from
                 discovery responses, but fixed this omission in a March 4, 2022 supplement just 8 minutes
21               before the conclusion of fact discovery. This is not a cure to prejudice. See North American
                 Watch Corp. v. Princess Ermine Jewels, 786 F.2d 1447, 1451 (9th Cir. 1986) (“[l]ast-
22
     3
23     Google’s opposition admits that signed-out users are by definition Not Synced. See Opp. at 2. Thus,
     it concedes that any log that identifies when a Chrome user is signed-out must also expressly identify
24   a Not Synced user. This admission reveals yet another set of false statements made to the Court
     regarding whether Google’s signed-out logs can identify Not Synced Chrome users, and thus should
25
     be preserved. See Dkt. 713-4, Jun. 15, 2022 Preservation Order, at 7:18-19 (excluding “
26                                    ” from not synced signals, based on Google prior argument, Jun. 30,
     2022 Hr’g Tr. 31:1-13, that signed-out status is “
27                                                                              ”). However, the next line of
     the same order suggests that the Court (correctly) found the Zwieback UID is a Not Synced signal.
28   Dkt. 713-4 at 7:20-21. Plaintiffs will seek leave to clarify based on the apparent conflict and Google’s
     admission of July 1, 2022 that contradicts its arguments on preservation.
                                                        -3-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
       Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 7 of 21




 1              minute tender of documents does not cure the prejudice to opponents”). Further still, the
                timing of its corrected response is telling. Google supplemented responses in March 2022,
 2              after the Schumann deposition and at the close of fact discovery, at which time Google’s
                attempts to cover up Not Synced signals were finally unraveling.
 3
     Repeatedly, Google has demonstrated that it was well-aware of the existence and storage of Not
 4
     Synced signals, and yet repeatedly and actively concealed the truth from the Court and Plaintiffs.
 5
            Google disingenuously claims that it “offered additional discovery on [Not Synced] signals
 6
     that Plaintiffs failed to accept.” Opp. at 5. The first supposed “offer” was Google’s August 27, 2021
 7
     preservation proposal (Dkt. 293-4). Leaving aside the fact that a data preservation offer is not an offer
 8
     of “additional discovery,” Google’s opposition manufactures an argument by misquoting the offer;
 9
     Google did not offer to preserve evidence of “whether” a user had enabled the sync feature, but
10
     instead only offered to preserve data of synced users. Google’s adulteration of the language of its
11
     own offer is inexcusable and deeply unsettling in a brief arguing against sanctions for discovery
12
     misconduct. To ensure an accurate record, Plaintiffs include a screenshot of the preservation offer in
13
     the accompanying Joint Rebuttal Declaration of Counsel, at ¶ 32. The second supposed “offer” was
14
     the deposition of Tim Schumann originally scheduled for October 2021, which Google now claims
15
     would have revealed the existence of Not Synced signals earlier had that deposition been taken earlier.
16
     This remarkable argument might be a first: a defendant misrepresents the truth to the Court, but argues
17
     that Plaintiffs could have learned the truth if only they had deposed a key witness earlier. But
18
     Plaintiffs deferred the Schumann deposition precisely because Google was refusing to produce
19
     discovery relating to Not Sync signals. Id. at ¶ 33. It was not until after the original October 2021
20
     deposition date that certain key documents were produced, which, in turn, enabled Plaintiffs to obtain
21
     critical admissions from Schumann, in January 2022, regarding Not Synced signals. Id. at ¶ 33.
22
            Google also argues that the April 30, 2021 Protective Order (Dkt. 129) precludes a sanctions
23
     motion, see Opp. at 5, but it is precisely because Google obtained its protective order through false
24
     statements that Google should be sanctioned. The Court can (and did) amend the order when new
25
     evidence reveals the original order to have been secured through fraud. This is common sense, and
26
     the law of the Ninth Circuit. See In re Lavender, 180 F.3d 1114, 1118 (9th Cir. 1991) (a “federal
27
     court may amend a[n] … order under its inherent power when the original … order was obtained
28
     through fraud on the court”).
                                                        -4-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
         Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 8 of 21




 1           Finally, Google argues that its misconduct should be excused because (1) Not Synced signals

 2 cannot identify the Class because they are not related to users visiting a non-Google website that has

 3 installed Google’s services; and (2) Not Synced signals might not completely capture each and every

 4 absent class member and thus, Google had no duty to disclose the existence of signals that would

 5 identify most absent class members. Opp. at 5.4 But Google cannot withhold information that it has

 6 been expressly ordered to produce based on its own judgment as to the value of the data. Indeed, on

 7 this and all other misconduct that resulted in destruction of evidence, Google cannot deny relevance

 8 in order to avoid sanctions.

 9                   2. Google Failed to Produce Named Plaintiff Data

10           Google falsely claims to have “immediately complied” with the April 30, 2021 order by

11 “searching both the authenticated and unauthenticated identifiers the Named Plaintiffs provided, and

12 producing the associated data.” Opp. at 10.5 As the court knows, it took multiple Court orders to force

13 Google to comply, including an order to produce historically preserved Named Plaintiff data by June

14 30, 2022. And that is just data already compiled and stored on a litigation platform. Google does not

15 dispute that it failed to complete a full search for Plaintiff data in the most relevant (i.e.,    logs
16 and failed to preserve and produce Named Plaintiff data keyed to Biscotti and Zwieback.

17                           a.      Google Failed to Timely Disclose and Produce Already
                                     Searched, Segregated and Preserved Named Plaintiff Data
18
             It is undisputed that following the April 30, 2021 Order, Google did not produce the already,
19
     searched, segregated, and preserved Named Plaintiff Data. Rather, it produced Gaia-keyed
20
     information from only one data source –                 In subsequent motion practice, Google claimed
21 that the withheld information “would contain duplicative and cumulative information.” Dkt. 233 at

22 5-6. This statement was false. Plaintiffs
                                             now know that Google was withholding Gaia           and
23
   Gaia           information, which contains records with highly relevant data points for this case,
24
   including profile and revenue information. Google only finished producing this Gaia
25

26   4
     On the merits, Google’s position is incorrect. See Dkt, 340-19, Shafiq Rep. ISO Class Cert., § V;
   Dkt. 484-5, Shafiq Rebuttal Rep. ISO Class Cert., §§ III-V.
27 5 Google’s “authenticated” (e.g. Gaia) versus “unauthenticated” (e.g. Biscotti and Zwieback)
   nomenclature is misleading for the reasons set forth in the accompanying declaration of Zubair
28 Shafiq. See Joint Rebuttal Decl. Ex. 20, Rebuttal Declaration of Zubair Shafiq ISO Sanctions (“Shafiq
   Rebuttal”) § C.
                                                         -5-                 Case No. 4:20-cv-05146-YGR-SVK
                                               PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
       Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 9 of 21




 1 information on June 30, 2022 because the Court ordered it.

 2          This production (months after fact discovery concluded) confirmed that the

 3                        and                      logs are among the most important for the Display Ad

 4 portion of the case. These logs contain: (1)                      ; (2)                                  ;

 5 (3)                                    ; (4)

 6                                                  (5)                                                ; and

 7 (6)

 8              . See Joint Rebuttal Decl. ¶ 35. This information was not present in the limited

 9 production. It should have been produced at the outset, rather than withheld until three months after

10 the close of fact discovery.

11          Gaia            – Google withheld Gaia               information until after the close of fact
12 discovery. See id. at ¶ 34. Upon review, it is clear why.

13

14                              See Shafiq Rebuttal ¶ 31. This eviscerates Google’s claim that there is no
15 Gaia-Zwieback connection. See Opp. at 9, n.9. Further, that Google continues to dispute this factual

16 issue only illustrates the prejudice – this is a point of contention, discovery which goes to establishing

17 or refuting the position is relevant, and Google had an obligation to produce it.

18          Gaia             Logs – Google’s late production of Plaintiff data and its admissions in
19 Opposition demonstrate that Google had the ability to preserve and produce the most important

20 Plaintiff Information at the outset of this case. In the Special Master process, Google searched and

21 produced              of Plaintiff Information from a subset of Gaia           logs. Google’s production
22 demonstrated that it is and has always been capable of searching and producing all of the relevant

23 Plaintiff Information. See Shafiq Rebuttal ¶¶ 33-35. It simply chose not to do so. In addition, Google’s

24 Opposition admits that it created pipelines in July and August 2021 to preserve Gaia-keyed data. See

25 Ansorge Decl. ¶ 32. But Google chose to withhold the preserved Gaia                  log data, and, in the

26 process, forced the Court and Plaintiffs into a search process that was designed to return null sets.

27          Had Google identified what it already searched, segregated and preserved, a Special Master

28 would not have been necessary. Instead, Google withheld this data and engaged in tactics intended to

                                                        -6-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 10 of 21




 1 impede and delay disclosure of relevant information. See Jun. 30, 2022 Hr’g Tr. 27:7-28:4 (Special

 2 Master Brush explaining the difficulties in working with limited information from Google, stating

 3                                                                                            ”).

 4                          b.      Google Failed to Preserve Biscotti-Keyed Information

 5          As it must, Google acknowledges that the April 30, 2021 Order required production of Named

 6 Plaintiff data, including “device data [e.g. Biscotti- and Zwieback-keyed information] associated with

 7 any Plaintiff.” Opp. at 10 (citing April 30, 2021 Order).6 Moreover, Google’s opposition concedes

 8 that it can “quickly produce” this information. Opp. at 11, n.12.7 But despite the clear Court order,

 9 and the efficiency with which it could have been done, Google chose not to timely preserve and

10 produce Named Plaintiffs’ Biscotti-keyed information. See Joint Decl. ¶¶ 78-83. Google concedes

11 that it did not begin to “develop pipelines to preserve” Biscotti-keyed information until July and

12 August 2021. Ansorge Decl. ¶ 32. By delaying preservation, Google knowingly destroyed most of

13 the relevant Biscotti-keyed data. See Joint Decl. ¶ 79 (Biscotti-keyed data has only a nine-month

14 retention period). The destruction of evidence, and prejudice to Plaintiffs, is reflected in the fact that

15 Biscotti-keyed information that has been produced to date consists largely of null sets. See Joint Decl.

16 ¶ 83.

17                          c.      Google Failed to Preserve Zwieback-Keyed Information

18          Google concedes that it neither produced nor preserved Named Plaintiffs’ Zwieback-keyed

19 Information, Opp. at 10, thus destroying the best records of Named Plaintiffs’ web browsing when

20 they were not synced. See Joint Decl. ¶ 95 (Zwieback-keyed data is destroyed after 180 days of

21
   6
     Beyond the plain language of the Court’s order, Google implicitly acknowledges the importance
22 and relevance of Biscotti-keyed information in its opposition. Specifically, Google asserts that,
   although it was ostensibly not required to do so, it nonetheless “developed pipelines in              to
23 preserve data associated with Biscotti IDs[.]” Opp. at 5-9. Given the struggle to procure any
   information from Google throughout this litigation, the purported voluntary preservation merely
24 underscores the fact that Google was and is well-aware that Biscotti-keyed data is relevant to the
   claims in this case and well within the scope of its discovery obligations. See, generally Apple Inc. v.
25 Samsung Elecs. Co., Ltd., 888 F. Supp. 2d 976, 990-991 (N.D. Cal. 2012) (preservation obligation
   pertains to relevant evidence and exists irrespective of a specific discovery request).
26 7
     In this respect, Google’s “reverse-engineering” arguments, i.e. purported burdens, Opp. at 10-11,
27 are beside the point. Nevertheless, internal Google documents show that Google could easily have
   preserved and produced information from all devices associated with the Named Plaintiffs – even
28 without the Plaintiffs providing any device identifiers to Google. See Shafiq Rebuttal § C. Google’s
   failures to do so are additional grounds for sanctions.
                                                        -7-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 11 of 21




 1 inactivity). In fact, the recent production, on June 30, 2022, includes incontrovertible proof that

 2 Google deleted all Zwieback-keyed data for one Named Plaintiff on the very date that the Court

 3 ordered it to be produced. See Shafiq Rebuttal ¶ 20. Google’s belated production of a small subset

 4 of Zwieback            data does not cure its misconduct; Google improperly produced most of it in

 5 unreadable encoded format (and later making false statements about efforts to decode it, see Joint

 6 Rebuttal Decl. § II.D), and worse, due to Google’s inexplicable delay in searching, the belated

 7 production consisted of mostly null sets. See Shafiq Rebuttal ¶¶ 17, 19.

 8          Google’s argument that it “did not preserve Zwieback-keyed data” in response to the Court’s

 9 April 30, 2021 Order “because Zwieback ID is not used to key the data at issue[,]” (Opp. at 10, n.11)

10 has already been vetted (and rejected) by the Court and the Special Master. The record is clear that

11 the April 30, 2021 Order encompassed Zwieback. Under that order, “device data” expressly includes

12 any data “detailed at the hearing” – which, in turn, expressly included Gaia, Biscotti, and Zwieback.

13 See Apr. 29, 2021 Hr’g Tr. 38-41. Google did not object to the inclusion of Zwieback as out-of-scope;

14 instead, it acknowledged that Zwieback is an identifier that is “

15                        ” Id. at 43:5-12. Irrespective of Google’s protestations to the contrary, the Court
16 confirmed that Zwieback is within the scope of production of Named Plaintiff Data in at least six

17 other orders. See Joint Rebuttal Decl. ¶ 41 citing Dkt. 329 (Oct. 21, 2021, order acknowledging that

18 Zwieback transmissions were alleged in Plaintiffs’ complaint); Dkt. 378 (Nov. 12, 2021 Order

19 expressly including Zwieback identifiers as relevant to production of Named Plaintiff Data), Joint

20 Rebuttal Decl. Ex. 26 (Jan. 5, 2022 Special Master Order expressly including Zwieback                 and

21 Zwieback        in list of relevant data sources), Joint Rebuttal Decl. Ex. 27 (Feb. 27, 2022 Special

22 Master Order requiring Google to “

23                                                                       ”), Dkt. 749 (July 5, 2022 Order
24 directing the parties to discuss preservation of Zwieback-related information), Dkt. 766 (July 15,

25 2022 Preservation Order which included requirement that Google preserve certain Zwieback

26            ). Google does not get to “resort to self-help … in direct contravention of this Court’s

27 order[.]” Dkt. 558, Order to Show Cause.

28          Google’s opposition continues to mislead regarding the nature – and thus relevance – of

                                                       -8-                 Case No. 4:20-cv-05146-YGR-SVK
                                             PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 12 of 21




 1 Zwieback-keyed information. Google claims that (1) Zwieback is not relevant to Google’s tracking

 2 of Not Synced users on non-Google properties; and, (2) direct Search logs are not relevant to this

 3 action. Opp. at 11, n.11. Testimony obtained by Plaintiffs, and documents produced by Google on

 4 June 30, 2022, conclusively demonstrate that these misrepresentations are false. See Joint Rebuttal

 5 Decl. ¶¶ 42, 44.

 6          The reasons for Google’s Zwieback misconduct has recently become clear: Google wished

 7 to avoid production of Zwieback evidence because (1) a substantial portion of Google’s unjust

 8 enrichment is derived from Zwieback and disclosures to Google.com from non-Google websites, see

 9 Joint Rebuttal Decl. ¶ 44, and (2) it destroys Google’s defense that Zwieback is not personally

10 identifiable information, see id. at ¶ 43.

11             On February 25, 2022, Google produced Zwieback                             inform
                revealed Google had concealed the fact that Zwieback                contains (1)
12                                              (2)
                          ; (3)                                                      (4)
13                                                                                           (5)
                                          and (6)                                               . See Shafiq
14              Rebuttal ¶ 31.
15             On May 9, 2022, Plaintiffs received a spreadsheet of Ga                        th
                Google had previously concealed the fact that Gaia                 contains (1)
16                                        (2)                                             ; (3)
                                       ; and (4)                                                . See Shafiq
17              Rebuttal ¶ 32.
                                        le admitted th       gle stores
18                                       in Zwieback           See Dkt. 713-4 at 8. It attempted to retract
                its admission regarding                  on June 29, 2022. See Dkt. 740. In the same June
19              15, 2022 filing, Google disputed that it comingled Zwieback and Gaia.
20            On June 30, 2022, Google produced long concealed Plaintiff data demonstrating how its
               eponymous search engine uses and profits from the personal information that Chrome
               sends to Google.com without authorization for not synced users on non-Google websites.
21
   Combined, these late revelations show that (1) Google’s arguments about the nature of Zwieback-
22
   keyed information were incorrect; and (2) that Google has concealed the full scope of its misconduct
23
   and profits therefrom. At this late stage, additional discovery will not cure the prejudice.
24
                           d.     The Special Master Process Should Not Have Been Necessary
25
           Although the Special Master was appointed to resolve “technical” disputes, Google waited
26
   nearly a year before it conceded there was no technical impediment to production of Named Plaintiff
27
   data it had already searched, segregated, and preserved. In addition, Google’s limited searches
28
   eventually revealed that there was never a technical impediment to searching for Named Plaintiff
                                                          -9-                 Case No. 4:20-cv-05146-YGR-SVK
                                                PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 13 of 21




 1 data. See Shafiq Rebuttal ¶¶ 33-35. As a final abuse, Google ran out the clock after, on May 17,

 2 2022, the Special Master finally ordered Google to conduct a search for Plaintiff data from the

 3 beginning of the class period or the maximum retention period for a limited set of logs. See Joint

 4 Rebuttal Decl. ¶¶ 60-64. Rather than comply, Google falsely claimed it had already done so. It then

 5 permitted Plaintiffs, the Court, and the Special Master to believe that the Court’s order for

 6 production of already searched, segregated and preserved data would provide a complete picture. It

 7 did not. Google only searched two months prior to the date of the filing of the Complaint. In short,

 8 the Special Master would have never been necessary had Google simply complied with its discovery

 9 obligations – and, even after a full year and more than a million dollars, Google never complied.

10                  3.     Google Withheld Privacy Native Documents

11          Google does not dispute that it withheld key Privacy Native documents. The late-produced

12 documents refute Google’s primary defense of consent and prevented discovery into the damning

13 evidence contained therein. Google’s conduct is willful, in bad faith, and prejudicial to Plaintiffs.

14          Google’s opposition argues Privacy Native is merely an “overarching vision and strategy…to

15 inform the Google privacy experience across products and services” (Opp. at 14) and “is not a study

16 about the adequacy or meaning of the disclosures at issue in this case” (id. at 24). But this broad

17 description in no way refutes the relevance of the information Google withheld. There is no dispute

18 that Google concealed key documents that memorialized statements made by Google executives

19 related to user consent, whether that be under the broad umbrella of an “overarching vision and

20 strategy” or otherwise is of no consequence. The concealed documents included damning internal

21 admissions that Google knew it did not have consent. See, e.g., Joint Decl. ¶ 64 (admission that

22                                                                            ]”). There can be no dispute
23 that such information was relevant.

24          Next, Google argues “no harm” because it previously produced documents generally
25 discussing Privacy Native. Opp. at 15. But this concedes that Privacy Native documents were relevant

26 from the outset, and begs the question as to why Google withheld the most critical of these

27

28

                                                      -10-                 Case No. 4:20-cv-05146-YGR-SVK
                                             PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 14 of 21




 1 documents.8 And, when it became apparent that information was withheld, Google still delayed

 2 production for four months, until after the close of fact discovery. See Joint Decl. ¶¶ 51-60.9 Google

 3 did so intentionally, knowing that the information undermined its position on consent.

 4          Moreover, the withheld information was not duplicative as suggested by Google. Rather, it

 5 contained information material to the claims and defenses in this case. The late produced documents

 6 contained interview notes from key stakeholders – high level executives with decision-making

 7 authority – who agreed with Plaintiffs regarding the lack of user consent. See, e.g., Joint Decl. ¶¶ 64

 8 (quoting an executive as conceding that Google’s ad systems, “

 9                  ”). In this respect, the mere identification of interviewees in prior production, does not

10 (as Google asserts) cure the prejudice to Plaintiffs that resulted from Google withholding the

11 interview notes. That is, identification of interviewees is not the same as the transcription of actual

12 statements made during the interviews and attributable to specific interviewees. It is the latter which

13 fully informs a party’s decision to depose certain witnesses, not merely their name and position, and

14 it is the withholding of the latter which prejudiced Plaintiffs.

15          Google’s opposition points to specifics documents for which it incorrectly contends that the

16 “nearly” duplicative information was produced earlier. Opp. at 16-18. But, as noted above, this

17 reasoning acknowledges that these late produced documents should have been produced at the outset.

18

19
   8
     Google asserts that had Plaintiffs believed the initial production to be insufficient they should have
20 sought a discovery extension or motion to compel. Opp. at 24. But this ignores that Google has a
   good faith obligation to produce the information in the first instance. And Plaintiffs did promptly
21 request production of the information when they learned of it in December 2022, and had to request
   it repeatedly over several weeks and threaten to move to compel before Google would comply. See
22 Joint Decl. ¶¶ 51-60. Further, Google’s reasoning on this point highlights its fundamental
   misunderstanding of discovery obligations. In Google’s world, there is no obligation to produce
23 responsive documents unless it is forced to by the knife of a Court order. Not So. See Synapsis, LLC
   v. Evergreen Data Sys., Inc., 2006 WL 2884413, at *1 (N.D. Cal. Oct. 10, 2006) (“discovery rules
24 are designed to be largely self-executing; the system relies on counsel’s integrity as members of the
   bar and officers of the Court to act with professionalism and reasonable diligence in meeting their
25 obligations under the rules and under any specific court orders that may issue in a case.”).
   9
26 Google’s claim that “two of the documents…were inadvertently withheld as privileged and the third
   was inadvertently marked as not responsive” (Opp. at 18) is disingenuous. Even if that were to be
27 believed, Plaintiffs requested production of all responsive Privacy Native documents on January 18,
   2022, February 4, 2022, March 21, 2022, March 23, 2022, March 25, 2022, March 31, 2022, and
28 April 4, 2022. See Joint Decl. ¶¶ 51, 53, 55-60. Google delayed its production until April 6, 2022,
   which was one month after the close of fact and after the briefing on its motion for summary judgment
   was completed. See id. at ¶¶ 52, 54, 60.
                                                       -11-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 15 of 21




 1 In any event, “nearly” duplicative concedes the existence of new and additional information, withheld

 2 from Plaintiffs until after the close of fact discovery. A review of the belated production demonstrates

 3 the clear prejudice. For example, Google argues GOOG-CABR-05885987 is “identical in virtually

 4 all material respects” to a document cited in Plaintiffs’ opposition to summary judgment. Opp. at 16

 5 (emphasis omitted). But Google ignores that it argued that the document cited in Plaintiffs’ opposition

 6 was a draft that Google asserted was non-probative to the issue of consent. See Dkt. 475 at 12-14

 7 (arguing draft documents have no probative value). Late produced GOOG-CABR-05885987 is a final

 8 version of the draft document. See Joint Decl. ¶ 62. Thus, at the same time Google was arguing that

 9 the document cited by Plaintiffs was a non-probative draft, Google was improperly withholding the

10 final version that was reviewed and endorsed by stakeholders. Likewise, Google mistakenly argues

11 that belated production of GOOG-CABR-05885871 (a summary of specific statements by Google

12 stakeholders related to user consent) is of no consequence, as it had previously produced information

13 regarding the identification of the stakeholders. But the fact that Google deigned to produce only

14 peripheral information – identification of individuals and reference to the interviews – does not negate

15 the prejudice from withholding the interview notes themselves. There is no excuse for Google to parse

16 the information in this matter and withhold the substance of the interviews; particularly, as the

17 concessions made during the interviews contradict Google’s primary defense of consent.

18          B.      EVIDENTIARY AND MONETARY SANCTIONS ARE APPROPRIATE

19          Where, as here, “‘discovery misconduct has deprived the opposing party of key evidence

20 needed to litigate a contested issue, an order prohibiting the disobedient party from contesting that

21 issue…is appropriate.’” Brown v. Google, LLC, Dkt. 593-3 at ¶ 34 (quoting Shanghai Weiyi Int’l

22 Trade Co. v. Focus 2000 Corp., 2017 WL 2840279, at * 11 (S.D.N.Y. Jun. 27, 2017)). Such

23 “[p]reclusionary orders ensure that a party will not be able to product from its own failure to comply.”

24 Id. ¶ 26 citing U.S. v. Sumitomo, 617 F.2d 1365, 1369 (9th Cir. 1980). An adverse inference instruction

25 is appropriate when “bad faith or gross negligence has resulted in either the spoliation of evidence or

26 failure to turn over relevant evidence.” Id. ¶ 42 (quoting First Fin. Sec., Inc. v. Freedom Equity Grp.

27 LLC, 2016 WL 5870219, a *3 (N.D. Cal. Oct. 7, 2016)) (quotations omitted). For an adverse inference

28 instruction based on spoliation, the Court need only find that a party acted with “conscious disregard”

                                                      -12-                 Case No. 4:20-cv-05146-YGR-SVK
                                             PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 16 of 21




 1 of its obligations. See Apple Inc. v. Samsung Elecs., Co., Ltd., 888 F. Supp. 2d at 998 (citations

 2 omitted). The offending party is then required to “pay the reasonable expenses … caused by the

 3 failure.” Fed. R. Civ. P. 37(b)(2)(C). Applying these authorities, Plaintiffs’ requested relief is

 4 appropriate to address each category of Google’s willful and bad faith misconduct.

 5                  1.      Proposed Sanction for Discovery Misconduct Related to Not Synced
                            Signals is Appropriate
 6
            With respect to the relief requested for Google’s failure to preserve and produce Not Sync
 7
     signals, as set forth above, Google’s opposition to this relief lacks merit. Moreover, insofar as Google
 8
     insists that it will not be raising arguments related to Not Synced signals, i.e. the preclusion of
 9
     arguments related to Not Synced signals will have no practical consequence on Google, this requested
10
     relief appears to be uncontested. Further, the preclusion of arguments predicated on data that Google
11
     failed to preserve has already been conceded by Google and endorsed by the Court. See Jun. 30, 2022
12
     Hr’g Tr. 13:6-14 (with respect to the pending preservation plan, the Court noted “Google w[ill] not
13
     use the fact that certain data had not been preserved to oppose any motion. And Google has agreed
14
     to that”); Dkt. 766 at 8 (ruling that Google cannot use the absence of any data not subject to the
15
     preservation plan to oppose any motion or claims). Google should be precluded from arguing that the
16
     absence of signals from which browser state can be determined may not be used as evidence or
17
     argument that the proposed Class cannot be ascertained, damages appropriately apportioned, or that
18
     the proposed Class definition, which is defined to include only users who are not synced, contains
19
     any “uninjured” class members by reason of an inability to identify users who are not synced. See
20
     Dkt. 670-14, Proposed Order.
21
                    2.      Proposed Sanctions for Failure to Preserve and Produce Named
22                          Plaintiff Information are Appropriate

23          With respect to the relief requested for Google’s failure to preserve and produce Named

24 Plaintiff Information, as set forth above, Google’s Opposition lacks merit. Google’s misconduct was

25 undeniably designed to impede discovery into the nature and volume of the collected information,

26 thereby prejudicing Plaintiffs’ ability to litigate key elements – e.g. reasonable expectations of

27 privacy and highly offensive conduct. See In re Facebook Internet Tracking, 956 F.3d 589 (9th Cir.

28 2020); In re Google RTB Consumer Privacy Litig., 2022 WL 2165489, at *8 (N.D. Cal. Jun. 13,

                                                       -13-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 17 of 21




 1 2022). Google incorrectly argues that its belated production of limited information of purportedly

 2 “the exact same type of Biscotti- and Zwieback-keyed data that Plaintiffs allege Google spoliated” is

 3 sufficient. Opp. at 22 (emphasis added). Not so. Google does not get to dictate how Plaintiffs will try

 4 their case and it certainly cannot do so by limiting the evidence that it will deign to provide.

 5 Production of limited subsets of incomplete information directly undermines the ability to show the

 6 actual nature and volume of Google’s unauthorized tracking, and there is no proof that the production

 7 contained “exactly” the same type of data in any event. The requested adverse inferences (see

 8 Proposed Order) are narrowly tailored to address that harm, and aligns with what the Court has

 9 already entered with respect to precluding arguments where Google failed to preserve evidence. See

10 Dkt. 766 at 8. Google’s contention that any prejudice is mitigated by the fact that “highly offensive”

11 requires a “holistic consideration of factors” is baseless. Google seeks to impede discovery into

12 factors which do not weigh in its favor, while amplifying those of Google’s choosing. The jury is

13 entitled to examine all relevant evidence, not just the evidence that Google has cherry-picked.

14                 3.      Proposed Sanction for Privacy Native Misconduct is Appropriate

15          With respect to the relief requested for Google’s misconduct related to Privacy Native (see

16 Proposed Order), as set forth above, Google’s opposition to this relief lacks merit. Google’s focus on

17 prejudice with respect to its motion for summary judgment is misplaced. The prejudice is not cabined

18 to Google’s motion. Google’s Privacy Native misconduct prejudices Plaintiffs through dispositive

19 motions and trial. By its misconduct, Google concealed internal knowledge that it lacked consent.

20 Google’s arguments about the meaning of the Privacy Native documents underscores the relevance

21 and the prejudice. Had Google properly disclosed, Plaintiffs would have had the opportunity to obtain

22 further discovery on these issues. Plaintiffs’ requested relief will ensure that Google cannot

23 “impermissibly benefit from evidentiary gaps that it has created” by refusing to cooperate in

24 discovery and timely produce Privacy Native documents. See Lanier v. San Joaquin Valley Offs.

25 Ass’n, 2016 WL 4764669, at *8 (E.D. Cal. Sept. 12, 2016) (precluding introduction of further facts

26 and evidence on response to issues where party failed to comply with discovery deadlines and

27 thwarted opposing party’s efforts to understand the basis of evidence and allegations).

28

                                                     -14-                 Case No. 4:20-cv-05146-YGR-SVK
                                            PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 18 of 21




 1                  4.      Plaintiffs’ Other Requested Relief Is Appropriate

 2          Google wrongly asserts that civil contempt is “mentioned nowhere” in Plaintiffs’ opening

 3 brief, Opp. at 25, but Plaintiffs clearly argued that the facts at issue here “are more egregious than

 4 those found in other cases” where Google was found in contempt, Mot. at 25. Further, Google ignores

 5 that the Court repeatedly reiterated the directives of its April 30, 2021 Order, most recently coming

 6 full circle with the Preservation Order on June 15, 2021 (Dkt. 766). The remedy for non-compliance

 7 with a court order is not another court order. It is contempt, and “[i]t is well settled that the court has

 8 inherent power to enforce compliance with its lawful orders through contempt.” Shillitani v. U.S.,

 9 384 U.S. 364, 370 (1966). Google’s argument that Plaintiffs’ request for monetary sanctions exceeds

10 the scope of appropriate relief ignores the fact that but for Google’s discovery misconduct, the Special

11 Masters fees in this case would not have been incurred. Cf. Brown, Dkt. 593-3.

12                  5.      Google’s Opposition Concedes Additional Misconduct on Zwieback

13          Google’s opposition illustrates the prejudice from its failure to produce Zwieback discovery.

14 Despite seven orders confirming the relevance of Zwieback-keyed information, Google steadfastly

15 refused to comply. Now, after almost two-years, Google has finally produced piecemeal and limited

16 subsets of Zwieback-related information. That limited production confirms that Zwieback is tied to

17                                                                                                 Zwieback
18 is personally identifiable information.10 Google should not, after having destroyed this evidence for

19 Named Plaintiffs and concealed general evidence of its nature, benefit from that misconduct by

20 denying that Zwieback has the qualities described on the face of the late produced documents, i.e.

21 that it is identifi-able. For this misconduct, Google should be precluded from disputing that Zwieback

22 is Personally Identifiable Information.

23 III.     CONCLUSION
24          For the reasons stated above and in their opening brief, Plaintiffs request that the Court impose
25 evidentiary and monetary sanctions against Google.

26

27

28   10
       Personally Identifi-able Information is a subset of Personal Information as defined in Google’s
     contract and California law.
                                                       -15-                 Case No. 4:20-cv-05146-YGR-SVK
                                              PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
     Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 19 of 21




 1 DATED: July 21, 2022                                Respectfully submitted,

 2
     BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
 3
   By: /s/ Lesley E. Weaver                            By:        /s/ David A. Straite
 4 Lesley Weaver (Cal. Bar No. 191305)                 David A. Straite (admitted pro hac vice)
   Angelica M. Ornelas (Cal. Bar No. 285929)           One Grand Central Place
 5 Joshua D. Samra (Cal. Bar No. 313050)               60 E. 42nd Street, Suite 2400
 6 555 12th Street, Suite 1600                         New York, NY 10165
   Oakland, CA 94607                                   Tel.: (646) 993-1000
 7 Tel.: (415) 445-4003                                dstraite@dicellolevitt.com
   Fax: (415) 445-4020
 8 lweaver@bfalaw.com                                  Amy Keller (admitted pro hac vice)
   aornelas@bfalaw.com                                 Adam Prom (admitted pro hac vice)
 9 jsamra@bfalaw.com                                   Sharon Cruz (admitted pro hac vice)
10                                                     Ten North Dearborn St., 6th Floor
     SIMMONS HANLY CONROY LLC                          Chicago, IL 60602
11                                                     Tel.: (312) 214-7900
   By:     /s/ Jay Barnes                              akeller@dicellolevitt.com
12 Jason ‘Jay’ Barnes (admitted pro hac vice)          aprom@dicellolevitt.com
   An Truong (admitted pro hac vice)                   scruz@dicellolevitt.com
13 Eric Johnson (admitted pro hac vice)

14 112 Madison Avenue, 7th Floor
   New York, NY 10016
15 Tel.: (212) 784-6400
   Fax: (212) 213-5949
16 jaybarnes@simmonsfirm.com
   atruong@simmonsfirm.com
17
   ejohnson@simmonsfirm.com
18
                                         Counsel for Plaintiffs
19

20

21

22

23

24

25

26

27

28

                                                    -16-                 Case No. 4:20-cv-05146-YGR-SVK
                                           PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
      Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 20 of 21




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, Jay Barnes, attest that concurrence in the filing of this document has been obtained from

 3 the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 21st day of July, 2022, at Jefferson City, Missouri.

 5
                                                  By /s/ Jay Barnes
 6
                                                    Jay Barnes
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                      -17-                 Case No. 4:20-cv-05146-YGR-SVK
                                             PLS’ REPLY ISO MOTION FOR SANCTIONS FOR DISCOVERY MISCONDUCT
        Case 4:20-cv-05146-YGR Document 777 Filed 07/21/22 Page 21 of 21




 1                                    CERTIFICATE OF SERVICE

 2         I, Jay Barnes, hereby certify that on July 21, 2022, I electronically filed the foregoing document

 3 with the Clerk of the United States District Court for the Northern District of California using the

 4 CM/ECF system, which will send electronic notification to all counsel of record. I also caused a copy

 5 of the under seal filings to be provided to counsel for Defendant.

 6                                                          /s/ Jay Barnes
                                                            Jay Barnes
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     -18-                   Case No. 4:20-cv-05146-YGR-SVK
                                                PLS’ REPLY ISO MOT. FOR SANCTIONS FOR DISCOVERY MISCONDUCT
